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                              No. 25-____

  In the United States Court of Appeals for the Fifth Circuit

 IN RE GARY WESTCOTT, IN HIS OFFICIAL CAPACITY AS SECRETARY OF THE
LOUISIANA DEPARTMENT OF PUBLIC SAFETY AND CORRECTIONS; AND DAR-
  REL VANNOY, IN HIS OFFICIAL CAPACITY AS WARDEN OF THE LOUISIANA
                        STATE PENITENTIARY,
                                     Petitioners,
                      ________________________

               On Petition for Writ of Mandamus from the
     United States District Court for the Middle District of Louisiana
                     3:12-cv-00796-SDD-EWD
                    _________________________

          EMERGENCY PETITION FOR WRIT OF MANDAMUS
                 AND ADMINISTRATIVE STAY
                  _________________________

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           CERTIFICATE OF INTERESTED PERSONS

     A certificate of interested persons is not required here because, un-

der the fourth sentence of Fifth Circuit Rule 28.2.1, Petitioners—as “gov-

ernmental” parties—need not furnish a certificate of interested persons.




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         STATEMENT REGARDING ORAL ARGUMENT

     Because the issues presented in this petition are straightforward,

the State believes that the Court can resolve the petition without argu-

ment. If argument would help the Court, the State respectfully requests

that the Court hold argument by telephone or Zoom as expeditiously as

possible, given Plaintiff Hoffman’s impending execution on March 18.




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                   STATEMENT OF RELIEF SOUGHT

      Petitioners respectfully request mandamus relief—as soon as prac-

ticable—directing the Middle District to vacate the Ruling entered on

February 21, 2025, which grants Plaintiffs’ Rule 60(b)(6) motion to reo-

pen the proceedings below. See Dist. Ct. ECF 337 (reproduced at

App.001–9). 1 In addition, because the Middle District has scheduled a

status conference for tomorrow (Monday, February 24) at 1:30pm, Peti-

tioners respectfully request that this Court immediately enter an admin-

istrative stay of the February 21 Ruling pending the Court’s disposition

of this petition for writ of mandamus.

                               INTRODUCTION

      Thirteen years ago, Plaintiffs—prisoners on Louisiana’s death

row—filed this lawsuit challenging Louisiana’s lethal-injunction protocol

as a violation of the U.S. Constitution. Three years ago, the Middle Dis-

trict (Dick, J.) dismissed the lawsuit for lack of jurisdiction because it was

undisputed that Louisiana lacked the drugs necessary to carry out its

lethal-injection protocol. That mootness defect remains today.


      1 This Court has appellate jurisdiction to issue mandamus relief under the All

Writs Act, which provides in relevant part that “all courts established by Act of Con-
gress may issue all writs necessary or appropriate in aid of their respective jurisdic-
tions and agreeable to the usages and principles of law.” 28 U.S.C. § 1651(a).


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     One year ago, the Louisiana Legislature changed state law to (as

relevant here) add nitrogen hypoxia as a method of execution. On June

14, 2024, Plaintiffs filed a Rule 60(b)(6) motion asking the Middle District

to reopen this case so Plaintiffs can turn it into a challenge against nitro-

gen as a method of execution. The Middle District took no action for eight

months. Then, on Friday afternoon, February 21—approximately three

weeks away from Plaintiff Hoffman’s scheduled execution on March 18—

the Middle District issued the Ruling at issue here, which grants Plain-

tiffs’ Rule 60(b)(6) motion. On Saturday afternoon, February 22, the Mid-

dle District set a status conference for Monday afternoon, February 24.

     This is an egregiously wrong use of Rule 60(b)(6)—and there is no

valid basis for permitting Plaintiffs to use an old lawsuit challenging Lou-

isiana’s lethal-injection protocol as a vehicle for bringing an entirely new

challenge to nitrogen. This Court has long held that Rule 60(b)(6) relief

“is appropriate only in ‘extraordinary circumstances.’” Priester v. JP Mor-

gan Chase Bank, N.A., 927 F.3d 912, 913 (5th Cir. 2019) (quoting U.S. ex

rel. Garibaldi v. Orleans Parish Sch. Bd., 397 F.3d 334, 337 (5th Cir.

2005)). But the Middle District never identified any such extraordinary

circumstance. It simply pointed to the fact that Louisiana changed its



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law—something States do all the time. And that says nothing of two other

reasons why the Middle District clearly and indisputably erred: one, the

Ruling directly contradicts this Court’s well-settled precedent holding

that a change in law is not a sufficient basis for Rule 60(b)(6) relief; and

two, the Ruling is ultra vires because the Middle District continues to

lack Article III jurisdiction over the claims in this lawsuit.

     Plaintiffs’ recourse, if any, is to file a new lawsuit challenging Lou-

isiana’s new law—but they have refused to do so for a year now. Their

strategic decisions cannot countenance the Ruling’s egregious misuse of

Rule 60(b)(6). Accordingly, the State respectfully requests that the Court

immediately stay the Ruling, as the Middle District has scheduled a sta-

tus conference for Monday, February 24, at 1:30pm. In addition, the State

respectfully requests that the Court issue mandamus relief directing the

Middle District to vacate the February 21 Ruling.

                         ISSUES PRESENTED

     Whether the Middle District clearly and indisputably erred in

granting Plaintiffs’ Rule 60(b)(6) motion based on a new law that Plain-

tiffs’ dismissed (and still-moot) suit did not, and could not, challenge.




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                           STATEMENT OF FACTS

        1. This case began in 2012 when Plaintiff Jessie Hoffman (sentenced

to death for raping and murdering a woman) sued then-Louisiana Governor

Bobby Jindal and other state officials (together, the State or Petitioners).2

See Dist. Ct. ECF 1. He alleged that the State’s lethal-injection method of

execution, and the lethal-injection protocol, violated his constitutional

rights. See id. The next year, Plaintiff Christopher Sepulvado (sentenced to

death for murdering his six-year-old stepson) intervened. See Dist. Ct. ECF

10.

        In 2014, Plaintiffs asked for leave to file a “Second Amended Com-

plaint” to “include[] allegations specific to the newly-discovered evidence of

deviations from the written execution protocol, and the possibility that the

Defendants may now be using a compounded facsimile of pentobarbital in-

stead of pharmacygrade pentobarbital.” Dist. Ct. ECF 104 at 3. The district

court granted leave (Dist. Ct. ECF 117), and the Second Amended Com-

plaint was docketed (Dist. Ct. ECF 118).




        2 For the sake of simplicity, and because the thirteen-year-old docket in this

case is convoluted (including the dismissal of various parties), “Petitioners” here re-
fers only to Secretary Westcott of the Louisiana Department of Public Safety and
Corrections and Darrel Vannoy, Warden of the Louisiana State Penitentiary.


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     Other death-row inmates thereafter intervened, and their Complaints

in Intervention, though not entirely identical, also challenged the lethal-

injection protocol (the Protocol). See Dist. Ct. ECF 202, 203, 204, 211, 212,

223, 253. Of those Complaints, the one filed in 2019 (Dist. Ct. ECF No. 253,

reproduced at App.033–77) is the most recent and complete statement of

Plaintiffs’ claims because it repeated allegations made in prior Complaints

and added new or slightly modified allegations.

     From the first page, the 2019 Complaint asserted that the Protocol

constitutes “cruel and unusual punishment due to the insufficient training,

expertise, and supervision of those involved in the administration of the

lethal drug(s) as well as the arbitrary and haphazard implementation of

the protocol.” App.033. And the claims for relief centered on that theory:

         • Claim I: claim that executing Plaintiffs “without giving
           them fair notice of the lethal injection protocol and op-
           portunity to be heard violates procedural due process,”
           App.068.

         •    Claim II: claim that executing Plaintiffs “pursuant to
             the current Protocol would violate their rights,”
             App.069.

         • Claim III: claim that executing Plaintiffs “after substi-
           tuting drugs used in any purported protocol without
           promulgating a new protocol” would violate their
           rights, App.070.



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         • Claim IV: claim that “[t]he Protocol denies the con-
           demned inmate access to counsel and the courts,”
           App.070.

         • Claim V: claim that “[t]he Protocol denies the public ac-
           cess to the execution,” App.071.

         • Claim VI: claim seeking declarations that, among other
           things, “it violates the Eighth and Fourteenth Amend-
           ments” to “carry out an execution using expired drugs,
           illegally-obtained drugs, drugs that were not properly
           stored in advance of the execution, or drugs obtained
           from a compounding pharmacy in violation of state and
           federal law”; to “us[e] the midazolam and hydromor-
           phone protocol”; and to “us[e] fentanyl or any other
           drugs seized by law enforcement,” App.071–72.

     To that end, the 2019 Complaint also requested relief directly aimed

at the lethal-injection Protocol. For example, it demanded a permanent in-

junction enjoining the State “from carrying out an execution with expired

drugs,” or “with compounded drugs.” App.074. It also broadly demanded

that the Middle District enjoin the State “from carrying out an execution

pursuant to the current Protocol.” App.075.

     2. In 2022, the Middle District dismissed Plaintiffs’ claims as moot.

See Dist. Ct. ECF 312 (reproduced at App.010–32). The Middle District rec-

ognized that the State was unable to obtain the drugs necessary to carry

out any executions. The State’s “virtual inability to obtain lethal injection

drugs,” the Middle District continued, rendered Plaintiffs unable to



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“demonstrate a reasonable expectation that Defendants will resume exe-

cuting prisoners without significant and substantial changes to the execu-

tion protocol or the law.” App.030. With “no live controversy, the Court

lack[ed] subject matter jurisdiction” and dismissed Plaintiffs’ claims with-

out prejudice. App.032.

     Plaintiffs moved for reconsideration, which the Middle District de-

nied. See Dist. Ct. ECF 317 (reproduced at App.078–81). If the Legislature

“in the future” were to select “an alternative means of execution in Louisi-

ana,” the Middle District explained, Plaintiffs would have “an entirely dif-

ferent execution protocol over which to litigate.” App.081.

     3. Two years later, in March 2024, the Legislature did just that. The

Legislature passed a new underlying method-of-execution statute, which in

turn required promulgation of a new protocol. The new method-of-execution

statute provides that “every sentence of death shall be by one of [three

methods of execution]”: (1) lethal injection, (2) “[n]itrogen hypoxia,” and

(3) “[e]lectrocution.” La. Rev. Stat. § 15:569 (effective July 1, 2024).

     In response (and for almost a year now), Plaintiffs have refused to file

a new lawsuit challenging the new statute. Instead, on June 14, 2024, they

filed a Motion for Relief from Judgment Pursuant to Federal Rule of Civil



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Procedure 60(b)(6). See Dist. Ct. ECF 318. They asked the Middle District

to vacate the judgment of dismissal and reopen the case so they can chal-

lenge the new methods of execution and protocols. Id. The State opposed.

See Dist Ct. ECF 327. The State argued that (a) the only claims before the

Middle District challenged the lethal-injection Protocol and sought to enjoin

it on that basis, (b) those claims are still moot because the State still cannot

obtain the required drugs, and thus (c) the Middle District lacked jurisdic-

tion to reopen moot claims. Id. The Rule 60(b)(6) motion was fully briefed

by August 9, 2024. See Dist. Ct. ECF No. 330. The Middle District did not

act on that motion between June 2024 and February 2025.

     4. On February 10, 2025, Louisiana Governor Jeff Landry announced

that the State had finalized a nitrogen protocol “that allows for the sen-

tences of those on Death Row to be carried out.” See Promise Made, Prom-

ises Kept: Justice Coming for Crime Victims, Office of the Governor (Feb.

10, 2025), tinyurl.com/4zndvb2m. The Governor included a brief summary

of the protocol, which explains that “[e]xecution by nitrogen hypoxia is ac-

complished by placing a mask on the inmate’s face and replacing oxygen

with nitrogen gas.” Id.




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     Following the Governor’s announcement, Plaintiffs again refused to

file a new lawsuit. Instead, they doubled down on their Rule 60(b)(6) mo-

tion, asking for leave to file an emergency supplemental memorandum in

support of that motion. See Dist. Ct. ECF 331. The Middle District granted

their request (Dist. Ct. ECF 333), and their emergency supplemental mem-

orandum was docketed on February 11, 2025 (Dist. Ct. ECF 335). Still, the

Middle District did not act. On February 14, Plaintiffs filed another motion,

this time for an expedited hearing on their eight-month-old Rule 60(b)(6)

motion. See Dist. Ct. ECF 336 at 1. Their reason: “the State ha[d] obtained

death warrants” for two Plaintiffs, “Christopher Sepulvado and Jessie Hoff-

man with execution dates scheduled early next month on March 17 and

March 18, respectively.” Id. Still, the Middle District did not act.

     At 2pm on Friday, February 21, the Middle District issued a nine-

page Ruling, granting “expedited consideration” of the Rule 60(b)(6) motion

and granting the Rule 60(b)(6) motion itself. Dist. Ct. ECF 337 (reproduced

at App.001–9). Although Plaintiffs’ long-dismissed lawsuit challenged only

Louisiana’s lethal-injection Protocol—a challenge that remains moot to-

day—the Middle District stated: “In light of Louisiana’s state law now

providing new methods of execution, a new protocol addressing death by



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nitrogen hypoxia, and the state court’s definitive actions of issuing death

warrants, the Court finds that Plaintiffs have established extraordinary

circumstances”—a necessary prerequisite to granting Rule 60(b)(6) relief.

App.006. The Middle District also reframed this lawsuit to be about “Loui-

siana’s execution protocol” generally, rather than its lethal-injection Proto-

col. App.007–8. But the Middle District admitted that Plaintiffs would have

to “amend[] this lawsuit to challenge the current protocol.” App.007. On

that reasoning, the Middle District “VACATED” the “March 31, 2022 Judg-

ment, which dismissed this matter without prejudice.” App.009.

     On Plaintiffs’ motion, the Middle District entered an order on Sat-

urday afternoon setting a scheduling conference for tomorrow, February

24, at 1:30pm. Dist. Ct. ECF 340. Also over the weekend, Plaintiff Sepul-

vado died from health complications, leaving only Plaintiff Hoffman with

a currently scheduled execution (March 18). See Greg LaRose, Louisiana

Man with Execution Date Next Month Dies at Angola, Yahoo! News (Feb.

23, 2025), tinyurl.com/5cnx4232.




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                 REASONS THE WRIT SHOULD ISSUE

       As explained below, Petitioners are plainly entitled to mandamus

relief. For that reason, Petitioners also request an immediate adminis-

trative stay of the Ruling pending the Court’s disposition of this petition.

I.    PETITIONERS ARE ENTITLED TO MANDAMUS RELIEF.

       Petitioners are entitled to mandamus relief because (A) their right

to the writ is clear and indisputable, (B) they have no other adequate

means to obtain relief, and (C) the writ is appropriate under the circum-

stances. In re A&D Interests, Inc., 33 F.4th 254, 256 (5th Cir. 2022).

      A.    The Middle District Clearly and Indisputably Erred.

       Mandamus relief is warranted where “the district court clearly and

indisputably erred such that ‘there has been a usurpation of the judicial

power.’” Id. at 257 (quoting In re JPMorgan Chase & Co., 916 F.3d 494,

500 (5th Cir. 2019)). That includes a district court’s failure to stay within

“a lawful exercise of its prescribed jurisdiction,” as well as a district

court’s “disregard of the Rules of Civil Procedure.” Will v. United States,

389 U.S. 90, 95–96 (1967) (citation omitted); accord 16 Wright & Miller,

Federal Practice and Procedure § 3933.1 (3d ed.) (June 2024 Update)

(“The clearest traditional office of mandamus and prohibition has been to



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control jurisdictional excesses, whether the lower court has acted without

power or has refused to act when it had no power to refuse.”). Indeed,

when a party seeks a writ of mandamus “to confine a trial court to a law-

ful exercise of its prescribed authority, the court should issue the writ

almost as a matter of course.” In re Hot-Hed Inc., 477 F.3d 320, 323 (5th

Cir. 2007) (internal quotation marks omitted); accord United States v.

Denson, 603 F.2d 1143, 1145 (5th Cir. 1979) (en banc).

     The Middle District’s Ruling requires mandamus relief for at least

three independent reasons: (1) the Middle District did not identify any

“extraordinary circumstances” warranting Rule 60(b)(6) relief; (2) this

Court’s longstanding precedent forecloses using Rule 60(b)(6) to reopen

cases based on changes in law; and (3) the still-moot nature of Plaintiffs’

original lawsuit reinforces the Middle District’s lack of Article III juris-

diction to enter its Ruling.

           1.    The Middle District identified no “extraordinary
                 circumstances.”

     “Rule 60(b)(6) authorizes a federal district court to relieve a party

from a final judgment for ‘any ... reason justifying relief’ other than a

ground covered by clauses (b)(1) through (b)(5) of the rule.” U.S. ex rel.

Garibaldi, 397 F.3d at 337 (citing Hess v. Cockrell, 281 F.3d 212, 215–16


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(5th Cir. 2002)). This Court has long interpreted this language to mean

that “Rule 60(b)(6) motions ‘will be granted only if extraordinary circum-

stances are present.’” Hess, 281 F.3d at 216; see Priester, 927 F.3d at 913

(Rule 60(b)(6) relief “is appropriate only in ‘extraordinary circum-

stances.’”). Because “[t]his is a strict standard,” Crutsinger v. Davis, 936

F.3d 265, 270 (5th Cir. 2019), it is difficult to find decisions from this

Court permitting Rule 60(b)(6) relief. See Su v. Wilmington Tr., Nat’l

Ass’n, 839 F. App’x 884 (5th Cir. 2021) (distinguishing Klapprott v.

United States, 335 U.S. 601 (1949), where “the Supreme Court concluded

that ‘a citizen was stripped of his citizenship by his Government ... with

no reasonable opportunity for him effectively to defend his right to citi-

zenship,’ justifying relief under Rule 60(b)(6)”).

     The Middle District’s Ruling here, however, did not come close to

identifying extraordinary circumstances similar to the facts in Klapprott.

In fact, only one sentence in the Ruling even gestures at this prerequisite

for Rule 60(b)(6) relief: “In light of Louisiana’s state law now providing

new methods of execution, a new protocol addressing death by nitrogen

hypoxia, and the state court’s definitive actions of issuing death war-




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rants, the Court finds that Plaintiffs have established extraordinary cir-

cumstances.” App.006. With all respect, nothing about those things is “ex-

traordinary” in any sense of that term. State legislatures pass new state

laws and update their policies and procedures all the time. Similarly,

state courts enforce state laws by issuing death warrants all the time.

There is nothing extraordinary or unique about the fact that these things

have happened in Louisiana.

     Perhaps recognizing as much, the Middle District added a sentence

vaguely noting “[t]he significant demands of justice, i.e. access to the

courts and the protection of constitutional rights in relation to human

life.” Id. With all respect, denying Plaintiffs’ Rule 60(b)(6) motion would

not somehow deny them “access to the courts” or abridge “the protection

of constitutional rights in relation to human life.” To reiterate, for nearly

a year (and to this day), Plaintiffs have opted not to file a new lawsuit

challenging Louisiana’s new law. But for that strategic decision, Plain-

tiffs could be almost a year into litigation on their challenge; in fact, per-

haps the challenge could have been resolved by now.




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     On that score, moreover, Supreme Court precedent forecloses any

suggestion that Rule 60(b)(6) can be used to accommodate Plaintiffs’ stra-

tegic litigation decisions. See Ackermann v. United States, 340 U.S. 193,

198 (1950) (“There must be an end to litigation someday, and free, calcu-

lated, deliberate choices are not to be relieved from.”); see also App.006 &

n.38 (agreeing that Rule 60(b)(6) “cannot operate to relieve a party from

the ‘free, calculated, and deliberate choices he has made’”).

     In short, by failing to identify any extraordinary circumstance per-

mitting Rule 60(b)(6) relief, the Middle District clearly and indisputably

erred in granting Plaintiffs’ motion.

           2.    This Court’s cases foreclose Rule 60(b)(6) relief
                 based on changes in law.

     The Middle District’s error is compounded by the fact that this

Court’s precedents have long foreclosed attempts to use Rule 60(b)(6) to

reopen cases based on changes in law. “The ‘general rule’ is that a change

in decisional law ‘will not normally constitute an extraordinary circum-

stance, and cannot alone be grounds for relief from a final judgment pur-

suant to Rule 60(b).’” Priester, 927 F.3d at 913 (quoting Batts v. Tow-

Motor Forklift Co., 66 F.3d 743, 748, 750 (5th Cir. 1995)). Indeed, the




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Court has emphatically rejected the idea that “a ‘change in law’ automat-

ically allow[s] cases to be reopened.” Id. For, “[i]f that were the law, then

anytime the Supreme Court resolved a circuit split[,] courts that had

taken the rejected position would have to restart long-resolved cases.” Id.

     The Court has applied this general rule, moreover, even where the

Rule 60(b)(6) movant identified clear reasons why the change in law ar-

guably would have led to a different outcome in his original suit. See, e.g.,

Hernandez v. Thaler, 630 F.3d 420 (5th Cir. 2011) (the Supreme Court’s

later change in law regarding the calculation of AEDPA’s limitations pe-

riod—which would have rendered petitioner’s habeas petition timely—

was not an extraordinary circumstance); Adams v. Thaler, 679 F.3d 312,

320 (5th Cir. 2012) (the Supreme Court’s later change in law adding an

equitable exception to excuse a habeas petitioner’s procedural default—

where the Adams petitioner’s original case was denied on procedural-de-

fault grounds—was not an extraordinary circumstance).

     This is an a fortiori case. There is no Supreme Court, or even Fifth

Circuit or Louisiana Supreme Court, precedent that has changed Louisi-

ana law regarding execution by lethal injection—and even if there were,

this Court’s precedents would squarely foreclose using Rule 60(b)(6) to



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reopen this lawsuit based on that change in law. And that is what makes

the Middle District’s use of Rule 60(b)(6) even more egregiously wrong:

The Ruling reopens this lawsuit based on a legislative change in law, and

a new method of execution, that Plaintiffs’ lawsuit does not (and could

not) challenge. The Middle District conceded this point in stating that

Plaintiffs would have to “amend[] this lawsuit to challenge the current

protocol.” App.007. Because this Court’s precedents squarely bar reopen-

ing this lawsuit under Rule 60(b)(6) based on changes in law that would

otherwise govern the original lawsuit, a fortiori they emphatically bar

reopening this lawsuit to challenge a new law altogether.3 Like in

Kirksey, “the issues can be more clearly and directly presented in a new

action, one that does not carry either the freight of old issues or the




      3  Notably, Rule 60(b)(6)’s next-door neighbor—Rule 60(b)(5)— allows relief
from a judgment when “applying it prospectively is no longer equitable” due to “sub-
sequent changes in either statutory or decisional law.” Agostini v. Felton, 521 U.S.
203, 215 (1997) (emphasis added). That (b)(5) contemplates the exact issue here
(change in statutory law after dismissal) and denies relief for dismissals like this one
that “do[] not stand in the way of a new action,” Kirksey v. City of Jackson, 714 F.2d
42, 44 (5th Cir. 1983), reinforces Plaintiffs’ inability to invoke (b)(6). See Gonzalez v.
Crosby, 545 U.S. 524, 528–29 (2005) (“Rule 60(b)(6) ... permits reopening when the
movant shows ‘any ... reason justifying relief from the operation of the judgment’
other than the more specific circumstances set out in Rules 60(b)(1)–(5).” (quoting
Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 873 (1988))).


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weight of [twelve] years of no longer relevant briefs and papers.” 714 F.2d

at 44.

            3.    The still-moot nature of Plaintiffs’ original law-
                  suit reinforces the Middle District’s lack of Article
                  III authority.

      One final fact reinforces the clear and indisputable error in the Rul-

ing: It is an affront to Article III itself. “Article III of the United States

Constitution limits the jurisdiction of federal courts to actual cases and

controversies.” Payne v. Progressive Fin. Servs., Inc., 748 F.3d 605, 607

(5th Cir. 2014) (citing U.S. Const. art. III, § 2, cl. 1). To that end, “parties

seeking to invoke federal-court jurisdiction demonstrate that they have

a legally cognizable interest or personal stake in the outcome of the case.”

Id. “The doctrine of standing generally assesses whether that interest

exists at the outset, while the doctrine of mootness considers whether it

exists throughout the proceedings.” Uzuegbunam v. Preczewski, 141 S.

Ct. 792, 796 (2021).

      The mootness problem that forced the Middle District to dismiss

this lawsuit in 2022 remains present today. As recounted above, Plain-

tiffs’ various iterations of their allegations in this lawsuit focus exclu-

sively on Louisiana’s lethal-injection protocol. But, as the Middle District



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said, there is “no live controversy” because of “pharmaceutical companies’

unwillingness to sell their products to departments of corrections for use

in capital punishment.” App.032. The Middle District thus rightly con-

cluded that “claims presented in the matter currently before the Court do

not present a live case and controversy and are moot.” App.081. Nothing

about this has changed. Plaintiffs’ challenge to the lethal-injection proto-

col remains just as moot today as it was in 2022.

     That underscores the highly improper nature of what has happened

below: The Middle District continues to lack Article III jurisdiction in this

long-dismissed lawsuit, and yet has attempted to reopen it so that Plain-

tiffs may “amend[] this lawsuit” (App.007) to try to create Article III ju-

risdiction. That is a shocking abuse of Article III authority that, accord-

ing to Petitioners’ research, appears to be unprecedented across the Na-

tion. In ordinary cases, “mootness” ends litigation where “a statute or

regulation is amended ... after plaintiffs bring a lawsuit challenging the

legality of that statute or regulation.” Freedom From Religion Found.,

Inc. v. Abbott, 58 F.4th 824, 832 (5th Cir. 2023) (collecting cases). Applied

here, that would mean that this lawsuit is, if anything, doubly moot—




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both because the original reason for mootness (Louisiana’s lack of neces-

sary drugs) exists today and because Louisiana has now adopted a differ-

ent method of execution that this lawsuit does not challenge.

     The Middle District appeared to recognize this problem because it

went out of its way to end the Ruling by rewriting the operative com-

plaints in this case to be more broadly about “Louisiana’s execution pro-

tocol”—and thus, “there is [now] an actionable case and controversy” in

light of Louisiana’s adoption of a new method of execution. App.007–8.

As recounted above, Plaintiffs’ own allegations reject that high-level

characterization of their lawsuit. But more fundamentally, the Middle

District in the same breath acknowledged that Plaintiffs would have to

“amend[] this lawsuit” to actually challenge Louisiana’s new method of

execution—which reinforces that this case is currently moot. App.007.

And finally, even if the Middle District’s reframing of Plaintiffs’ allega-

tions were correct, that would just run into the “change in law” problem

detailed above, supra Section I.A(2), which independently requires man-

damus relief.

     Respectfully, the Middle District cannot use Rule 60(b)(6) to reopen

an unquestionably moot lawsuit so that Plaintiffs can challenge a new



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method of execution altogether. That clear and indisputable error is of-

fensive to the very nature of Article III power.

     B.    Petitioners Have No Other Adequate Means of Relief.

     As the preceding arguments suggest, Petitioners also have no other

adequate means of relief to challenge the Middle District’s Rule 60(b)(6)

error. See In re A&D Interests, Inc., 33 F.4th at 256. The Ruling, for ex-

ample, does not issue the sort of injunctive relief that permits an inter-

locutory appeal under 28 U.S.C. § 1292(a). Nor would an appeal from any

ultimate “final decision[],” id. § 1291, be adequate. For, by that time, “the

harm”—i.e., forcing Petitioners to participate in a procedurally improper

method-of-execution challenge on the eve of a scheduled execution—“will

have already been done” and “cannot be put back in the bottle.” In re

Volkswagen of Am., Inc., 545 F.3d 304, 319 (5th Cir. 2008) (en banc). Be-

cause Plaintiffs have refused to file a new lawsuit for nearly a year, and

because the Middle District took no action on the Rule 60(b)(6) motion for

eight months, time is now of the essence—and the only adequate means

of relief from the Ruling below is an expeditious mandamus order.




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     C.    A Writ Is Appropriate Under the Circumstances.

     Finally, issuing mandamus relief is appropriate for at least two

overarching reasons. In re A&D Interests, Inc., 33 F.4th at 256. First, this

Court has explained that issuing the writ is “especially appropriate,” In

re Lloyd’s Register N. Am., Inc., 780 F.3d 283, 294 (5th Cir. 2015), where

the issues presented have “importance beyond the immediate case,” In re

Volkswagen of Am., Inc., 545 F.3d at 319; accord In re JPMorgan Chase

& Co., 916 F.3d at 499.

     That is the case here both because of the nature of this lawsuit and

because of the venue in which it is filed. This lawsuit is effectively a small

class action brought by prisoners on Louisiana’s death row; so, how this

lawsuit proceeds (if it proceeds at all) has across-the-board ramifications

for Louisiana’s interest in finality and justice regarding those who have

been convicted of the most heinous crimes imaginable. This lawsuit also

is filed in the Middle District, where most, if not all, lawsuits challenging

the constitutionality of Louisiana laws are filed. Many of those laws are,

by their nature, iterative, including voting cases where maps are drawn

and redrawn. See, e.g., Nairne v. Landry, No. 24-30115 (5th Cir.) (oral

argument heard Jan. 7, 2025) (appeal from Middle District’s (Dick, J.)



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permanent injunction against Louisiana’s House and Senate maps). It is

thus extraordinarily important to Louisiana that the Ruling below be va-

cated before it becomes a playbook for resurrecting long-dead cases

simply because there was a legislative change in law.

        Second, it is important to account for the timeline leading up to the

Ruling and the timeline ahead. The Middle District took no action on

Plaintiffs’ Rule 60(b)(6) motion for eight months after they filed it. Then,

three weeks before Plaintiff Hoffman is scheduled to be executed, the

Middle District issued its Ruling. Petitioners cannot know the future, but

if this artificially compressed timeline prompts an attempt to stay Hoff-

man’s execution date, Petitioners will be back in this Court on another

mandamus petition. To avoid any potential delay, therefore, it is ex-

tremely important that this Court immediately vacate the Ruling, so

that, if Plaintiffs wish to challenge Louisiana’s new law, they can file the

new lawsuit that they have so far refused to file.

II.     PETITIONERS ARE ENTITLED TO AN ADMINISTRATIVE STAY.

        For all of these same reasons, Petitioners respectfully request that

this Court immediately enter an administrative stay of the Ruling. See,




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e.g., In re Abbott, 800 F. App’x 296, 298 (5th Cir. 2020) (per curiam) (“En-

tering temporary administrative stays so that a panel may consider ex-

pedited briefing in emergency cases is a routine practice in our court.”).

The Middle District has scheduled a status conference for tomorrow

(Monday, February 24) at 1:30pm. Dist. Ct. ECF 340. And Plaintiffs have

told the Middle District that they will immediately seek “expedited dis-

covery,” followed by “amended pleadings” and “briefing of a motion for

preliminary injunction.” Dist. Ct. ECF 339-1.

     As explained above, nothing more should happen in this docket be-

cause the Middle District clearly and indisputably erred in granting Rule

60(b)(6) relief in the first place. Moreover, if any of these actions occur

and Petitioners are forced to comply with the Middle District’s orders—

all while Plaintiffs try to run out the clock on Plaintiff Hoffman’s sched-

uled execution on March 18—that is a bell that cannot be unrung. Ac-

cordingly, Petitioners respectfully request that the Court immediately

enter an administrative stay of the Middle District’s February 21 Ruling

pending this Court’s disposition of the petition for writ of mandamus.




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                             CONCLUSION

       The Court should immediately enter a stay of the Middle District’s

February 21 Ruling. The Court should also grant this petition for writ of

mandamus, directing the Middle District to vacate its February 21 Rul-

ing.

Dated:     February 23, 2025             Respectfully submitted,

                                         ELIZABETH B. MURRILL
                                         Attorney General of Louisiana
                                         J. Benjamin Aguiñaga
                                         J. BENJAMIN AGUIÑAGA
                                         Solicitor General
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                                         Counsel for Petitioners




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                    CERTIFICATE OF SERVICE

     I certify that on February 23, 2025, I filed the foregoing brief with

the Court’s CM/ECF system. Pursuant to Federal Rule of Appellate Pro-

cedure 21, I also emailed courtesy copies to Plaintiffs’ counsel of record

and the chambers of the Honorable Shelly Dick.



                                              /s/ J. Benjamin Aguiñaga
                                              J. BENJAMIN AGUIÑAGA




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                 CERTIFICATE OF COMPLIANCE

     Pursuant to Fifth Circuit Rule 32.3, the undersigned certifies that

this motion complies with:

     (1) the type-volume limitations of Federal Rule of Appellate Proce-

dure 32(a)(7) because it contains 4,945 words; and

     (2) the typeface requirements of Rule 21(d)(1) and the type-style re-

quirements of Rule 32(a)(6) because it has been prepared in a proportion-

ally spaced typeface (14-point Century Schoolbook) using Microsoft Word

2016 (the same program used to calculate the word count).

                                              /s/ J. Benjamin Aguiñaga
                                              J. BENJAMIN AGUIÑAGA


Dated:   February 23, 2025




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                               FIFTH CIRCUIT
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                          February 23, 2025


Mr. Jorge Benjamin Aguinaga
Louisiana Department of Justice
1885 N. 3rd Street
Baton Rouge, LA 70802

      No. 25-30088   In re: Gary Westcott
                     USDC No. 3:12-CV-796


Dear Mr. Aguinaga,
We have docketed the petition for writ of mandamus and
administrative stay, and ask you to use the case number above in
future inquiries.
Filings in this court are governed strictly by the Federal Rules
of Appellate Procedure. We cannot accept motions submitted under
the Federal Rules of Civil Procedure. We can address only those
documents the court directs you to file, or proper motions filed
in support of the appeal. See Fed. R. App. P. and 5th Cir. R. 27
for guidance. We will not acknowledge or act upon documents not
authorized by these rules.
All counsel who desire to appear in this case must electronically
file a "Form for Appearance of Counsel" naming all parties
represented within 14 days from this date, see Fed. R. App. P.
12(b) and 5th Cir. R. 12. This form is available on our website
www.ca5.uscourts.gov.   Failure to electronically file this form
will result in removing your name from our docket. Pro se parties
are not required to file appearance forms.
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Fifth Circuit Bar and to register for Electronic Case Filing. The
"Application and Oath for Admission" form can be printed or
downloaded from the Fifth Circuit’s website, www.ca5.uscourts.gov.
Information   on   Electronic   Case   Filing   is  available   at
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ATTENTION ATTORNEYS: Direct access to the electronic record on
appeal (EROA) for pending appeals will be enabled by the U S
District Court on a per case basis. Counsel can expect to receive
notice once access to the EROA is available.      Counsel must be
approved for electronic filing and must be listed in the case as
attorney of record before access will be authorized. Instructions
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for accessing and downloading the EROA can be found on our website
at                      http://www.ca5.uscourts.gov/docs/default-
source/forms/instructions-for-electronic-record-download-
feature-of-cm. Additionally, a link to the instructions will be
included in the notice you receive from the district court.
Sealed documents, except for the presentence investigation report
in criminal appeals, will not be included in the EROA. Access to
sealed documents will continue to be provided by the district court
only upon the filing and granting of a motion to view same in this
court.
We recommend that you visit the Fifth Circuit’s website,
www.ca5.uscourts.gov and review material that will assist you
during the appeal process. We especially call to your attention
the Practitioner’s Guide and the 5th Circuit Appeal Flow Chart,
located in the Forms, Fees, and Guides tab.
ATTENTION: If you are filing Pro Se (without a lawyer) you can
request to receive correspondence from the court and other parties
by email and can also request to file pleadings through the court’s
electronic filing systems. Details explaining how you can request
this   are   available    on   the   Fifth   Circuit   website   at
http://www.ca5.uscourts.gov/docs/default-source/default-
document-library/pro-se-filer-instructions. This is not available
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General Order No. 2021-1, dated January 15, 2021, requires parties
to file in paper highly sensitive documents (HSD) that would
ordinarily be filed under seal in CM/ECF. This includes documents
likely to be of interest to the intelligence service of a foreign
government and whose use or disclosure by a hostile foreign
government would likely cause significant harm to the United States
or its interests. Before uploading any matter as a sealed filing,
ensure it has not been designated as HSD by a district court and
does not qualify as HSD under General Order No. 2021-1.
A party seeking to designate a document as highly sensitive in the
first instance or to change its designation as HSD must do so by
motion. Parties are required to contact the Clerk’s office for
guidance before filing such motions.
Sealing Documents on Appeal: Our court has a strong presumption
of public access to our court’s records, and the court scrutinizes
any request by a party to seal pleadings, record excerpts, or other
documents on our court docket.     Counsel moving to seal matters
must explain in particularity the necessity for sealing in our
court. Counsel do not satisfy this burden by simply stating that
the originating court sealed the matter, as the circumstances that
justified sealing in the originating court may have changed or may
not apply in an appellate proceeding.     It is the obligation of
counsel to justify a request to file under seal, just as it is
their obligation to notify the court whenever sealing is no longer
necessary.    An unopposed motion to seal does not obviate a
counsel’s obligation to justify the motion to seal.
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                                Sincerely,
                                LYLE W. CAYCE, Clerk



                                By: _________________________
                                Mary Frances Yeager, Deputy Clerk
                                504-310-7686
cc:   Ms. Nishi L Kumar
      Mr. Michael L. McConnell
      Mr. Michael David Rubenstein
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Provided below is the court’s official caption. Please review the
parties listed and advise the court immediately of any
discrepancies. If you are required to file an appearance form, a
complete list of the parties should be listed on the form exactly
as they are listed on the caption.

                               _________

                          Case No. 25-30088
                               _________

In re Gary Westcott, Secretary, Louisiana Department of Public
Safety and Corrections; Darrel Vannoy, Warden, Louisiana State
Penitentiary, In His Official Capacity,
                     Petitioners
